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                            Civil Action No.   14   CIV 1366 (VEC)

                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


                             LAURIE SPINA, M.D.,
                                                                           Plaintiff,

                                                        -against-

                             DOWNTOWN BRONX MEDICAL ASSOCIATES,
                             P.C., and PHYSICIAN AFFILIATE GROUP OF NEV/
                             YORK, P.C.,

                                                                        Defendants.




                                DEFENDANTS' MEMORANDUM OF' LA\ry IN
                                SUPPORT OF THEIR MOTION TO DISMISS



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                                       Law Dept. No.: 2014-007400-LE
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               Defendants, Downtown Bronx Medical Associates, P.C., and Physician Affiliate

Group Of New York, P.C., (hereinafter "the Defendants"), respectfully submit this Memorandum

of Law in support of their motion to dismiss the Complaint,r

               As explained more fully below, plaintifls claim under the Federal Equal Pay Act,

29 U.S.C. $$ 206, et seq., is barred by the statute of limitations and must be             dismissed.

Similarly, those aspects of plaintiffls claims under the New York State Human Rights Law,

Executive Law g$ 290 et seq.; and the New York City Human Rights Law, N.Y.C. Admin. Code

$ 3-101 et seq., which occurred prior to February 28,2011 are also baned by the statute of

limitations. In addition, plaintiff fails to state both constructive discharge and retaliation claims.

Lastly, in that plaintiffls only Federal claim is subject to dismissal this Court should decline

exercising supplemental jurisdiction over any remaining state law claims and dismiss this action



                                           ARGUMENT

                                              POINT      I
                       MANY OF PLAINTIFF'S CLAIMS ARE TIME
                       BARRED

A.      Plaintiffls Federal Equal Pay Act Claim Is Untimely

               The Complaint in this matter was filed on February 28,2014. The statute of

limitations for claims under the Federal Equal Pay Act is two years from the time of their

accrual, or within three years    if the alleged violation is "willful,"    29 U.S,C. $ 255(a).   See


Zhen&fane Liang v. Café Spice SB. Inc., 911 F. Supp. 2d 184. 199-200 (E,D.N,Y, 2012)' Even

if plaintiff could establish a "willful" violation   she would be baned   from asserting any claim for

work performed prior to February 28,2011. Plaintiff resigned from defendants' employ on May


     For the convenience of the Court a copy of the Complaint is attached as Appendix      1
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6,2011. Thus, at most, plaintifls Federal Equal Pay Act claim covers a period of 68 days'        The


Complaint however fails to plead the necessary elements for a willful violation thereby making

the two year statute of limitations applicable and necessitating dismissal of the Federal Equal Pay

act claim in its entirety.

                Mere conclusory statements in the complaint cannot defeat a motion to dismiss.

See Ashcroft    v, Iqbal, 556 U.S. 662,678-80 (2009). Although when considering a motion to

dismiss a Court must assume the facts alleged            in the complaint to be true, and draw all

reasonable inferences in plaintiffs favor, the complaint must still contain enough facts to allow

the Court to draw the reasonable inference that the defendant is liable for the misconduct alleged'

Interpharm. Inc. v, V/ells Fargo Bank. N.4.. 655 F.3d 136, 14I-142 (2d Cit' 2011). However,

"ft]hreadbare recitals       of the elements of a   cause   of   action, supported by mere conclusory

statements, do not suffice." Iqbal, 556 U,S.        at 678. Here plaintiff fails to provide any facts

supporting her assertion        of "willful" violations. Rather, plaintiff only conclusory     asserts

,,willfulness,,in paragraphs 103 and 109, The assertion alone is insufficient to withstand           a


motion to dismiss, As such, the willfulness claim must be dismissed. In the absence of a willful

violation the limitations period for a Federal Equal Pay act claim is two years' The Complaint

was filed on February 28,2014 thereby barring any claims accruing before February 28,2012,

plaintiff resigned from defendants' employ on May 6,2011, Consequently, plaintiff s Federal

Equal Pay act is time barred.

B.       Aspects of Plaintiffs State and City Discrimination Claims Are Untimely

                 The statute of limitations for claims under the New York State Human Rights

Law, Exec. Law $ 290 et seq., and the New York City Human Rights Law, N.Y'C' Admin, Code
                                                                                  (2dCit'
 $ 8-101, et seq., is three-years. Lugo v. City of New York, 518 Fed' Appx. 28,29

 2013); Porter v. N.Y. Univ. Sch. of Law , 392 F.3d 530, 532 (2d Cir. 2004); Richey v. New York
                                                     a
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City Transit Auth., 2008 U.S, Dist. LEXIS 77666 (E.D.N.Y. Sept. 9, 2008). Thus, any claims

for alleged discriminatory treatment occurring prior to February 28,201I are also time barred.

                 Plaintiffs claims concerning the purported "Unequal Assignment of Hours"

(Complaint at paragraphs 40 to 43) are time barred. The Complaint, at paragraphs 40 and 47,

recounts that   plaintiffs weekend work hours were allegedly reduced in January 2011. If true,

this alleged reduction of hours would have occurred outside the statute of limitations and is time

baned. So also are the actions recounted in paragraphs 63 throughTT under the heading "Other

Discriminatory Treatment" time barred, as they concern events occurred between 2009 and

January 2C11.2

                 Although no time frame is stated for assertions concerning unequal workload

(Complaint at paragraphs 44    to   49); nor for the assertion that plaintiff was only paid for hours

actually worked while male doctors fully paid even if they left early (Complaint atpatagtaphs 50

to 56), nor for the assertions concerning "unequal assignments to committees" (Complaint           at

paragraphs 57 to 62), only incidents occurring after February 28,2011 would be actionable.        All

other claims must be dismissed.




'   In paragraph 64 of the Complaint plaintiff purports to relate an event that occurred "when Dr.
Giannarris was hired. . . ." In an earlier paragraph of the complaint (paragraph 25) plaintiff states
that "Dr. Dimitris Giannarris, a male anesthesiologist [was] hired by DBMA to work at Lincoln
Hospital in July of 2009..." Thus, the alleged discriminatory conduct cited inparagraph25
would be time barred along with the events mentioned in paragraphs 65 thorough 77 of the
Complaint,

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                                               POINT   II
                       PLAINTIFF CANNOT MAKE OUT A
                       CONSTRUCTIVE DISCHARGE CLAIM

               Although not denominated at the end of the Complaint as a cause of action,

paragraphs 95 through    97   are   titled "CONSTRUCTIVE DISCHARGE." Plaintiff           asserts she

was motivated to resign by two things, Plaintiff claims that the first moving force behind her

resignation was the alleged non-responsiveness to her purported complaints about unequal and

discriminatory treatment and her thought that future complaints would be futile. As a second

motivation plaintiff cites to the purported reduction, four months earlier, in January   201 1,   of her

weekend hours from 48 to 24 hours.3 These purported reasons      for her resignation do not make out

prima facie case for constructive discharge.

               'Within the Second Circuit the law concerning constructive discharge is well
established,

                       To establish a constructive discharge, a plaintiff
                       must show that the employer deliberately made his
                       working conditions so intolerable that he was forced
                       into an involuntary resignation. But such a claim is
                       not made out simply through evidence that an
                       employee was dissatisfied with the nature of his
                       assignments. Nor is it sufficient that the employee
                       feels that the quality of his work has been unfairly
                       criticized, Evidence of hypercritical supervision
                       also falls short of permitting an inference of
                       constructive discharge. Nor is the standard for
                       constructive discharge merely whether the
                       employee's working conditions were difficult or
                       unpleasant. Indeed, a claim of constructive
                       discharge must be dismissed as a matter of law
                       unless the evidence is sufficient to permit a rational
                       trier of fact to infer that the employer deliberately
                       created working conditions that were so difficult or
                       unpleasant that a reasonable person in the


3
    This alleged action falls outside the applicable statute of limitations


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                           employee's shoes would have                   felt compelled          to
                           resign.

Costa v. City of New      York,   546 F. Supp.   2d   ll7,       1   19 (S.D.N.Y. 2008) (internal quotation marks

and citations   omitted).   See also, Kader v. Paper Software,              11   I   F.3d 337 ,341 (2d Cir. 1997).

                 As an initial matter the Complaint is devoid of any allegations which would

plausibly suggest that defendants deliberately acted to make plaintiff s working conditions                            so


intolerable that she would resign. Moreover, the alleged motivating factors                               in plaintiffs
resignation cannot, as a mater of law, underlie a constructive discharge claim. The essence of

plaintiffs constructive discharge claim is that she was allegedly making less money                                  after

January 2011 than she had previously and was allegedly being paid less than men. Reduction in

work cannot serve as a basis for a constructive discharge claim. Chisolm v. Kidder. Peabody

Asset Management, 966 F. Supp, 218,229 (S.D.N,Y, 1997),                                 affd.,   164 F,3d 617 (2d Cir,

1998)(cited by Victory v. Hewlett-Packard Co,, 34 F. Supp, 2d 809,826 (E.D.N.Y. 1999). So

also, neither can unequal pay be sufficient to prove constructive discharge. Ottaviani v. State

University of New York,679F. Stpp.288,340 (S,D.N.Y, 1988), affd., 875F,2d365 (2dCir.

1989), cert denied,493 U.S.          l02l (1990),     See also Pittman               v. Hattiesburg Municipal   Separate


School Dist ., 644   F   ,2d 1071, 1077 (5th Cir. l9S        I   ).    However, even       if the asserted basis for   the

constructive discharge claim were legally viable, no rational trier                           of fact would find that
plaintiff s working conditions were so difficult or unpleasant that a reasonable person in her

shoes would have     felt compelled to resign. Therefore, the constructive discharge claim must                        be


dismissed.




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                                               POINT    III
                        PLAINTIFF FAILS TO STATE A CLAIM FOR
                        RETALIATION
                 Plaintiff claims she was retaliated against for complaining about alleged

discriminatory treatment of women, (Complaint at parugraph 78). In support of this plaintiff

writes that within days of making the complaint "Dr. Trister asked her, in front of colleagues,

'when are you fucking leaving?"' However, under both state and federal law, asking when an

employee is going to retire, even when the question is rudely posed, is neither an action which is

reasonably likely   to deter a person from engaging in protected activity nor probative of              an

invidious motive.     See                Y                               Retardation &

Disabilities   2l A.D.3d 288,294 (l't Dep't 2005),      See also Hazen Paper Co. v. Biggins, 507 U.S.

604,611 (1993).

                 Moreover, plaintiff s Complaint suggests that any antipathy between her and Dr.

Trister was pre-existing. See Complaint at paragraph 63. Therefore any such antipathy cannot

be attributed to the claimed protected activity nor can       it give rise to an inference of retaliation,

Giudice v. Red Robin Int'I. Inc.,2014 U.S, App. LEXIS 2688 (2d Cir. Feb, 13,2014)("whete,               as


here, the only basis for showing causation at the prima facie stage is a temporal nexus, "and

gradual adverse job actions began well before the plaintiff had ever engaged in any protected

activity, an inference of retaliation does not arise.")(Citing Slattery v. Swiss Reinsurance Am,

Corp., 248 F,3d 87,95 (2d Cir,), cert denied,534 U.S. 951 (2001)). See also, Melman v

Montefiore Med. Ctr., 946 N.Y.5.2d27,42            0't Dep't2012)("an      employer's continuation of a

course   of    conduct that had begun before the employee complained does not constitute

retaliation"), In addition plaintiff   s Complaint indicates that   Dr. Trister was not her superior nor




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a decision maker concerning her employment status or conditions but held the same position as

plaintiff,   See Complaint at paragraph 30,

                 Plaintiff asserts that another alleged retaliatory act was a reprimand she received

for calling two male doctors "boy." Plaintiff suggests that the reprimand must be retaliatory

since two male doctors had not been disciplined for using the word     "bitches," Plaintiff, however,

does not deny using the derogatory phrase nor that her actions were reported,             In   contrast,

although plaintiffls Complaint relates that she complained of unequal pay, the Complaint does

not relate any instance of her complaining about the use of the word "bitches." Plaintiffls

Complaint does not indicate that she was treated differently than any other employee who made

a derogatory comment and whose comment was officially reported to the employer. Thus, the

facts of plaintiff s Complaint do not plausibly give rise to an inference of retaliation. As the

Supreme Court noted, although the 'plausibility standard' does not requiring probability, it

nonetheless requires more than a sheer possibility that a defendant has acted      unlawfully. Iqbal,

supra., 556 U.S, at678,

                  Plaintiff also seeks to find retaliation in receiving "written discipline for taking

three sick days without a doctor's note." Plaintiff does not deny this having occurred, Nor does

she allege that male doctors avoided discipline while taking sick days without a doctor's note.

Instead plaintiff attempts to make an inapposite reference to her allegation that male doctors

received a full day's pay even when they left early while female doctors were not accorded that

benefit. In the absence of facts suggesting differential treatment for like activity and the absence

that such differential treatment was motivated by protected activity, plaintiff fails to make out of

claim of retaliation. As such, plaintiff s retaliation claims must be dismissed,




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                                               POINT IV

                         THE COURT SHOULD DECLINE
                         EXERCISING   SUPPLEMENTAL
                         JURISDICTION OVER ANY REMAINING
                         STATE LAW CLAIMS

               A   District Court, in its discretion, may "decline to exercise supplemental
jurisdiction over state law claims if it has dismissed all federal claims," Tops Markets. Inc, v.

Qualit), Markets , 142   F   .3d 90, 103 (2d Cir. 1998); see Giordano v. City of New York ,   27   4 F .3d

740,754 (2d Cir, 2001);28 U.S.C. $ 1367 (cX3). In exercising its discretion, "a federal court

should consider and weigh in each case, and at every stage of the litigation, the values ofjudicial

economy, convenience, fairness, and comity              ."   Carnegie-Mellon University v. Cohill, 484

U.S.343,350 (1988); see United Mine Workers v. Gibbs,383 U.S. 715 (1966),                  "Vy'hen the

balance of these factors indicates that a case properly belongs in state court, as when the federal-

law claims have dropped out of the lawsuit in its early stages and only state-law claims remain,

the federal court should decline the exercise of jurisdiction by dismissing the case without

prejudice." Carnegie-Mellon, 484 U.S, at 350, V/hile this does not establish an ironbound rule,

the usual result is to dismiss all pendent state claims when all federal claims have been disposed

of before trial. See Id. at 350, n. 7. Thus, upon dismissal of the Federal claim, the Court should

dismiss the remaining state law claims.




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                                         CONCLUSION

               WHEREFORE, Defendants respectfully requests that the Complaint be

dismissed and that Defendants be granted costs, fees, and disbursements together with such other

and further relief as this Court deems just and proper,


Dated:         New York, New York
               May      ,2014
                                                      Respectfully Submitted,

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                                              By:     Á'rfî
                                                                 William   S,J. Fraenkel
                                                            Assistant Corporation Counsel




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              APPENDIX 1
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   DOWNTOWN. BRONX I\4EDICAL ASSOCIATES,                                     )
 P,C and PHYSICIAN AFFILIATE GROUP OF NEW                                    )

                                 Delendant                                   )


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                                234 East 149th Street
                                Suite 80-200
                                Bronx NY 10451




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          Vfithi¡ 21 days after service of tlis sumuons  oü you (not countiug the day you roooivod it)         or 60 days ifyou
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                                             Beranbaum Menken LLP
                                             80 Plna Street, 33rd Fl.
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 I.INITED STATES DISTRICT COIIRT
 SOUTIIERN DISTRICT OF NETV YORK

 LAURIE SPINA, M.D,,
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                  Plaiutitr,                                     Civíl

          - against


DOWNTOWN BROM( MEDICAL
ASSOCTATES, P,C., and PIIYSICIAN AFFILIATE
GROUP OF NEW YORK P,C,,
                                                                 JI'RY TRIAL DEMANDEI)
                 Defendant,



                                        NATURE OF ACTION


          L      PlaintiffDr, Laurie Spina ("plaintiff' or "Dr. Spina") brings this aotion against

Downtown Bronx Medical Associates, P,C, ("DBN4A") and Physician Afñliate Groups of New

Yo¡h P.C, ("PAGNY') to remedy claims of discriminatorily unequal pay, pursuaat to the Equal

Pay Aot, 29 U,S.C, $0 206, et seq,; and the New York State Equal Pay Act, N.Y, Labor Law            g


194, as well as clair¡s of discrÍmi¡atiou under the New York St¿te Hrrnan Rights Law

('l\lfsHRl"),,Executive Law        $$ 290 et seq,; aad tbe New York City Human Rights Law

('îIYCHRL"), N,Y,C, Admiu, Code $ 8-101          et seq,

         2.      Plaintiff also brings this action to remedy claims of u¡rlawfr¡l retaliation under the

Equal Pay Act,29 U.S,C, $ 215(aX3);theNew York Labor Law, N.Y, Labor Law $215;the

NYSHRL, Executive Law gg 290 et seq.; andthe NYCHRL, N.Y,C, Admin, Code gg 8-101                    el
seq,




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      Case 1:14-cv-01366-VEC Document 12 Filed 05/13/14 Page 18 of 38




                                    JURISDICTION aud VEITIUE

          3.     This Cotut has original jwisdiction over plaintiffs claims pwsuant to 28 U.S.C,        0


1343 and the Equal Pay Act      of 1963, 29 u,s,c,   $0 206(d) et seq. This Court has supplemental

jurisdiction over plaintiffs state and city law claÍms pusuant to 28 U,S.C. $ 1367,

          4,     This Court also hæ diversity jurisdiction pursuant to 28 U,S.C, $ 1332,

          5,     Venue is proper in the Southem Distict of New York pursuant to 29 U,S,C.           $


t!f   tçU¡, as Defendant resides in and has its prilcipal place of business in this disþict and a

substa¡tial portion of events giving rise to plaintiffs claims occuned in the district,


                                               PARTIEq


          6.     PlaintÍffDr, Lau¡ie Spina is a resident of Middlesex County, New     Jersey,

          7,     At all times releva¡t to the aìlegations herein, Dr. Spina was an arresthesiologist

employed by defendant Downtown Brorx Medical Associates PC             ('DBMA"), whioh is duly

incorporated in the State of New York with its principal place of business located at 234 East

149th Street, Suit€ 80-200, Bronx,    New York   1045    1   ,




          8,     In 201   l, DBMA   was consolidated with other physician affiliate groups into

defendant Physician Affiliate Group of New York, PC ("PAGNY"), which is duly incorporated

i¡   the State of New York, with its principal place of business at 234F;øst 149ü Street, Bronx,

New York 10451,

          9.     DBMA conti¡ues to be incorporated in the State of New York,




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           10,   At all times relevant to this complaint, DBN4A, now PAGlfli, has contracted to

provide anesthesiologists to work at Lincoln Hospital Medical and Trauma Çenter ("Lincoln

Hospital"), located at234 E l49th St, Bronx, NY 10451,


                                                 FACTS


                                           BACKGROUND


       1l,       Dr, Spína graduated ùom Albany Medical College in 1987,

       12,       Dr, Spina completed her residency training in anesthesiology at Thomas Jefferson

University Hospital in August of 1991.

       13,       Dr. Spina is certified by the Amerioan Board of Anesthesiology and thc American

Boa¡d of Medical Examincrs.

       14,       Dr, Spina has been working    as an anesthesiologist since I 991   .



       15,       Dr, Spina was hired by DBMA      as an anesthesiologist   to work at Lincoln Hospítal

in November of 2005,

       16,       All   the anesthesíologists in the Anesthesiotogy Department at Lincoln Hospital

were,like Dr. Spina, employed by DBMA, and after its merger in July 2011 witb PAGNY,

       17,       On November 6, 201l, PAONY replaced DBMA as the contractor for

anesthesiology services at Lincoln Hospital.

       I   8,    On November 6, 20 I I , all anesthesiologists proviously employed by DBMA to

wórk at Lincoln Hospital automatically became employees of PAGNY.

       19,       Upon information a¡d belief, afte¡ the DBtvlA and PAGNY merger, PAGNY and

DBMA operate as a single entity, with offices in the same location: 234Easl149ü Street, Bronx,

New York 10451,



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                                               UNDOUAL PAY


        20,      Tbroughout her employment with DBMA, DBN4A paid Ðr. Spina $100 per how

worked.

        21,      Startiag in 2008, Dr, Spina was paid less than other similarly sihrated males, with

equivalent or less experience, employed by DBMA.

        22.      From 2008 until, at least, 201 l, other female ancsthesiologists employed by

DBMA were also paid less than similarly situated men, including:

            a.   Dr. Harriet Jones, who worked at DBlr¿fA       as an anesthesiologist   from before Dr.
                 'Spina's
                            hire until 2009;

            b,   Dr, Sha¡on Murillo, who worked at DBMA as an anesthesiologist from 2008 to

                 2009;

            c,   Dr, Michelle Cummerford, who worked at DBlvfA           as an anesthesiologist   from

                 2007 1o 2008;

           d.    Dr. Li¡da Critctrlow, who is ourently employed at DBMA, and was employed

                 there during Dr. Spina's tenure;

           e,    Dr. Naheed Ahmadi, who is cunently employed at DBlvlA, and was ernployed

                 dwing Dr, Spina's tenure;

           f.    Dr, Gloria Rioe, who is ounently employed at DBMA, and was employed during

                 Dr, Spina's tenure; and

           g,    Dr, Lee, who is ourrently ernployed    at   DBMA, and was employed there during

                 Dr. Spina's tenure,

       23,       Upon information and beliefl the doctors mentioned ri,n22 were paicl $100 per

hou¡ for their work.


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         24.      Until January of 201 1, Dr. Spina's schedule eamed her an annual salary of

$230,000 per year,

         25,      Dr, Dfunitris Giannarris,   a male anestesiologist hired   by DBIvIA to work at

Lincoln Hospital in July of 2009 immediately after finishing his residency training in June of

2009, was paid $280,000 per year by DBivfA and PAGNY,

         26,      Dr, Gorelick, a male ancsthesíologist who was also hired by DBMA to work at

Lincoln Hospital immediately afrer finishíng his residency training in March of 2011, was paid

$280,000 per year by DBMA ard PAGNY,

         27.      Dr. George Trister,    a male anesthesiologist hired   by DBlvlA to work at Lincoln

Hospital   h   2008, who has a level of experience similar to Dr. Spina, was paid in excess     of

$300,000 per     yeil by DBN4A.

         28.      Dr, Kolo Ediale,   a male anesthesiologist hired     by DBMA to work at LÍncoln

Hospital in 2010 who has a level of experience similar to Dr, Spína, was &lso paid in excess of

$300,000 per year by DBN4¡..

         29,      Upon information and belief, until January of 201l, Drs. O'Connellll, Oiannarris,

Ediale, Trister, and Gorelick worked hours at Líncoln Hospital comparable to or less than Dr.

Spina.

         30.      Drs, Giannarris, Ediale, Trister, and Gorelick held the same position with

defeudants at   Lincoh Hospital    as   Dr, Spina: anesthesiologist.

         31.      Drs, Giarura¡ris, Ediale, Trister ar¡d Gorelick, like Dr. Spina, are board certifieÇ in

anesthesiology,

         32,      Drs, Giannanis, Ediale, Trister and Gorelick performed substantially simílar work

to Dr, Spina while they were employed by defendants at Lincoln Hospital,



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        33,    Ln2007, Dr, Alberto Velasco, the Director of the A¡¡esthesiology Department and

an agent and employee of defeudants, offered Dr, Spina the position of Assistant Director           of

Anesthesiology, afrer the previous Assislant Directo¡ retired.

        34,    Dr. Velasco informed Dr. Spina that the position came with no salary inc¡ease or

other fina¡oial benefit above and beyond what she was paid as an a¡esthesiologist,

        35,    Unwilling to spend more timc on adminisbatíve tasks without any concomitant

financial benefrt, Dr. Spina hrmed the position down,

        36,    In August 2008, Dr. James O'Connell, a male ar¡esthesiologist, became the

Assistant Director of the Anesthesiology Departmenl     -   the same position which was offered to

Dr, Spina.

        37,    However, Dr, O'Connell wæ given monetary compensation for that position,

above and beyond his pay as an anesthesiologist, despÍte the fact that Dr, Velasco had explicitly

told Dr. Spina that, had she accepted the position herself, no additional compensation would be

available,

       38.     Upon idormation and belief, Dr, O'Connell, as tho Assistant Di¡ector of the

Anestbesiology Departnrent, and with the same level of experience as Dr, Spina, was making

over $400,000 per year in 201 I,

       39,     Had D¡, Spina accepted the exact same position, she would have made only

$230,000 per year, even aszuming Dr. Velasco had not reduced her weekend hou¡s without cause

(seel40, ìnfra).


                           UrYE-Q_UALJ.     Sr   CNMENT      O   F HO r.rRS


       40,     Unlil January 201l, Dr, Spina. regularly worked       a 48-hour weekend   shift at

Lincoln Hospital.
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         41.       ln January of 201 l, Dr, Spina's immediate supervisor, f)r, Velasco, reduced Dr,

Spina's wÇekend hours from 48 to24 hours, claiming that a hospital policy prohibited employees

frorn working more lhan24 consecutive hours.

         42,       As   a result   of the reduced bours, Dr. Spina's annual eamings decreased from

$230,000 per year to $210,000 per year.

         43.       Shortly thereafrer, Dr, Spina discovered that two male doctors, Drs. Trister and

Giannarris, were given full 48-hour w€ekend shiffs, indicating that the hospital in fact had no

policy against 48-hour shifts, but rather that Dr, Velasco had simply given Dr, Spina's hours to

her male colleagues,


                                          UNEOUAL WORK LOAD-


         44,    Anesthesiologists employed by defendants at Lincoln Hospital were assigned to

work shifts regardless of how many patients were in need of anesthesiology and/or relatcd care at

any given tinre,

         45,    Thus, there ofren werc more anesthesiologísts scheduled to work at Lincoln

Hospital dwing a given shifr than there were actual patients needing the care of a¡

anesthesÍologist.

         46,    Female anesthesiologists were always required to be attending to patients         if there

were ary patients ín need of the care of an anesthesiologist,

         47.    I-n   contast, male anesthesiologists were only asked to attend to   a patient   if all of

the female anesthesiologists were already busy attending to other patients.

         48,    Thus, Dr, Spina and other female anesthesiologists were attending to patients at

all times during their scheduled shifts and wcre virtually never allowed a break, even to eat

lunch,

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           49,      Male a¡¡esthesíologist, however, were often found in the break room playing

video games or surfing the internct when there were more anesthesiologists on shift than patients

needing their ca¡e.


                               I'NEOUALPAY FOR HOT,IRS NOT \ryORKEI)


           50.      Anesthesiologists employed by defendants at Lincoln Hospital were requíred to

fill   out time sheets,

           51,      Dr, Spina was rarely permitted to lcave ea¡lier than the end of her scheduled work

day, but if she did, she would not be paid for the scheduled hours she did not work.

           52,      By conkast, male doctors, including Drs. Trister, O'Connoll, Giaruranis,

Gorelick, and Bdiale, were paid for a full day of work regardless of when they anived or left,

           53,      Male doctors, including Drs, Trister, O'Connell, Giannarris, Gorelick, and Ediale,

were permitted to      fill   out their time sheets   n   a   pro   þrna   manner, stating that they lefr and

a¡rived as scheduled, regardless of when they actually left or arrived,

           54,      Dr, Spina and othe¡ female doctors were routi¡ely required lo cover Dr, Trister's

code beeper -. meaning that tbey would be on osll io respond to any emergencies transmitted to

the beeper    -   because Dr. Trister had already left for the day, often hou¡s earlier than scheduled.

          55,       Dr, Spina a¡d other female doctors werc asked to do this evcn when they were

already workiag with patients, and thus could not be reasonably expected to be on call to respond

to emergencies,

          56,       Upon information and belief, Dr, Trister wæ paid for a full day of work on thE

days that he left early and Dr, Spina and other female doctors were required to cover his code

beeper, and Dr, Velasco would allow Dr. Trisler to                  fill out his timesheets to indícate that   he

worked until four o'clock pm, Ëven when he left                 as early 6s noon,


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                       tr¡rEouAl, ASSIGNMENTS TO çOMMITTEEq

        57,    Dr, Velasco had the ability to æsign anesthesiologists at Lincoln Hospital to

hospital committees,

        58.    Appointment to a hospital committee confers prestige and authority on doctors,

and are helpful for a doctor's career advansement,

        59,    Dr, Giannanis,     a male anesthesiologist at   Lincoln Hospital, was appointed to

either the Operating Room Commifiee or the Quality Improvement Committee, even though he

only finished his residency training in June of 2009,

        60,    Dr. Trister,   a male anesthesiologist at   Lincoln Hospital, was appointed to either

the Operating Room Committee or the QualÌty Improvement Committee,

       61,     Dr. Spina, who had f:nished her residency in 1991, and had the same level of

experience as Dr, Trister, was not appointed to any hospital committees.

        62,    Upon information and belief, no female anesthesiologists employed by DBN4A or

PAGNY were, or have been, appointed to any hospital committees,




                        OTHER DISC4IMINATORY TREATMENT

        63.    Drs, Velasco and Trister routinely refened to the female anesthesiologists      as


"bitches."

        64,    For example, when Dr. Giannanis wæ hired, Dr. Spina heard Dr. Velæco tell Dr.

Giannarris that if he had any questions, he should direct them to Dr. Velasco and "ignore the

bitohesj" refening to the female anesthesiologists at Lincoln Hospital,




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         65,    lVhen Drs. Gorelick and Ediale were hired in 2009, Dr. Spina heard Dr. Velasco,

again, tell them to "ígnore the bitches" .- a statement made not only in the presenoe of Dr. Spina,

but also other medical staff, including surgeons and nurses,

         66.    Dr, Velasoo rcferred to the female anesthesiologists   as   "bitches" in Dr, Spina's

presetrce at least two othe¡ ti¡nes in 2010 and 201l.

        67.     ln August of 2010, Dr, Trister, a DBlvfA emoployee, told Dr, gpina in the lunch

room that "'¡re don't need you bitches, we're hiring some new men,"

        68,    This statemeut was made approximately one month before Dr. Ediale,          a male

anesthesiologist, was hired by DBN4A to work at Lincoln Hospital, and two months before Dr,

Caruso, another male anesthesiologist, was hired by DBMA to work at Lincoln Hoqpital, right

out of his residency, in November of 2010.

        69.    Residents in training at Lincoln Hospítal also informed Dr, Spína that Dr, Velæco

had told them to only takc rotatious with the male anesthesiologist there, telling the residents that

only the rnale anesthesiologists were good enough to learn from,

        70,    The rnale anesthesiologists at Lincoln Hospital refused to refer to the female

anesthesiologists there as "Dootor," even in the presence of patients and medical     stafl insisting

on referring to them as "Ma'am,"

        71.    The male zuresthesiologists at Lincoln Hospital, in tum, insisted on being called

t'doctor,"

        72,    When anesthesiologists employed by defendants at Lincoln Hospital were on call,

there would be a team of three doctors, led by a "team leader."




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        73,         If there was a malc   anesthesiologist on the team, no matter how recently he may

have graduated from medical schoolor finished his rosidency, he would be appointed the "team

leader" over women.

        74.         For example, in tearns of which Dr, Spina was a rnember, Dr, Oorelick, hired

directly out of his residency progam ín 2011, was assigrred to be team leader ovcr Dr, Spina,

despite the fact that Dr, Spina was two decades nrore experienced than Dr, Gorelick,

        75.         Defendants' malç ancsthesiologists, particularly Dr. Velæco, frequently pressured

female anesthesiologists to quìt,

        76.         For example, in January of 201l,when Dr, Spina refused to cover Dr, Trister's

code beeper because she was already tending to a patient, Dr, Velasco commented, in front        of

patients,   "I   want yow resiglation,"

        77.         Thereafter, Dr, Velasco routinely responded 1o Dr. Spina by simply telling her,   "I

waat your resignation."


             RETALIATION A¡{D pTSPAI|ATE TREATMENT OF COMPLATNTS

        78,         On March 17,2011, Dr, Spina complaincd to her union representatíve of the

DBMA's discriminatory fteaûnent towards female anesthesiologists, including, specifically,

paying lryom€n less than men for the same work.

        79,        On i¡formation and beliel the union representative reportecl Dr. Spina's

discrimination complaint to defendants, and, at a minimum, Drs. Velasco and Trister knew of her

complaínt,                                                                                  r




   80, lVithin days of Dr. Spina's complaint of discrimination , Dr, Trister asked her, in
ftont of colleagues¡ "when rire you fucking leaving?"




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          8l,     Upon information and belief, defcndants failed to conduct an investigation in

response to Dr. Spina's cornplaint of discrimination,

          82,     Dr. Spina was never called into any meeting with DBIT4A or PAGNY

management to discuss her complaints,'

         83.      Upon information and beliet no one was disciplined for any of the practices Dr,

Spina complained of,

         84.      Upon information and belie{ none of the discdminatory practices Dr. Spina

complained of we¡e reotified after her complaint.

         85.      Other female doctors had made complaints, some as early as 2006 to DBMA          of

similarly discriminatory treatment towards women by Dr. Velasco, aûer which, on information

and belief, no investigation was undertaken, no discipline was meted out, and nona of the

discriminatory polioies or practices were ohanged.

         86,      ln contæt, when a male anesthesiologist, Dr, Trister, complained that Dr. Spina

once referred to him as a "boy", on March 21,2011, four days after she had oomplained         of

discrimination, DBMA conducted a swift investigation,

   '     87   .   As part of the investigation of Dr, Spina for refening to someone as a "boy,"

Peter Gordon, the Executive Director of DBM,A, came to the hospital to meet with Dr. Spina and

her union representative about the alleged incident,

         88.      Prior to entering the room where the meeting was to take place, Dr, Spina asked

M¡, Gordon, "when are      \Àre   going to talk about the way wornen are treated, and the way we're not

being paid equally, and how we do all the work?"

         89,      Mr. Cordon ignored her entirely, and refused to even entar the ¡oom in which the

meeting was to take place,



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           90,    Thereafrer, Dr, Spina received a written reprimand for refening to Dr, Trister as   g

ttboy.tt


           91,    Neither Dr, Triste¡ nor Dr, Velasco were disciplined for calling Dr, Spina and

other female doctors, on numerous occasions and in public, as "bitohes."

           92.    Despite male doctors routinely leaving thei¡ shift early, aad being nonetheless

componsated for a     full day of work, in'March   and   April of 2011, shortly after sho complained of

discrimination to her union representativc and to DBMA's Executive Director, Dr, Spina was

given written discipline for taking three sick days without a doctor's note.

           93,    In the six years Dr. Spina had worked at DBlvfA, she had never previously taken     a

sick day.

           94,    Defendants disciplined Dr, Spina in retaliation for complaining of sex

discrimination,


                                  c   ql{srRucTrl¡E prscrrARcD

           95,    Having previously complained, and had her complaints ignorod, fi¡¡ther

complaints by Dr, Spina of unequal and discriminatory treatment were futile.

           96.    Having already had he¡ hours cut, and with nowhere to turn to seek remedy, Dr,

Spina's working conditions were i¡tolerable and she had no choice but to resign her position in

May of 201l.

           97,    Upon information and belief, other female u¡esthesiologists employed by DBlvfA

and/or PAGNY were forced to resign due to discri¡ninatory teatment, including:

            û.    Dr. Haniet Jones,

            b,    Dr, Sha¡on Murillo, and

            c.    Dr. Michelle Cummerford.

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                                     I'IRST CAUSE OF ACTION;


               uNEouAI, pAy IN yIoLATTON                  OF   Tm   EOUAI, pAy ACT

        98.     Plaintiffrepeats and realleges each and every allegation contained in this

Complaint with the sas¡e force a¡d effoct as if ñrlly set forth herein.

        gg,    At all times relevant to this action, plaintiffwas employed by defendants within

the meaning of the Fai¡ Labor Standards Act ("FLSA") 29 U.S.C, $$ 201 et seq., as amended to

include the Equal Pay Act, 29 U,S,C. $$ 206(d) et seç,

        100, At all times relevant to thjs action, defendants were employers within    the meaning

of the FLSA and the Equal Pay Aot,

        l0l.   The aots, practices and polìcies of DBMA a¡d PAGNY, as set forth above,

constitutc discrimination against plaintiff, in violation of the FLSA qnd the Equal Pay Act, by

unlawfully paying female employees less than male employees for equa.l work,

        102.   Upon information and belief, defendants were aware of complaints and requests

for investigation made by its female anesthesiologists conceming defendant's unfair pay

practices, but did not   rectift or investigate its unlawñ¡l pay practices.

        103,   Defendant's violations of the Equal Pay Act were willful and/or recldess, entitling

plaintiff to the th¡ee year statute of limitations and liquidated damages available under the FLSA

and the Equal Pay Act.


                                   sE9oND CAUSE oF ACTIONi

               VTOLATION Or Trm NDW YORK STATE EOUAI PAy                       Aq
        104,   Plaintiffrepeats and realleges each and every allegation contained in this

Complaint with the sarne force and effect as if ñrlly set fofh herein,

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            105. At all tirnes relevant to thi.s action,       plaintiff was employed by defendants within

the meaning of Article 6 of the New York Labor Law $$ 190, et seq,

            106, Defendants violated       the right of plaÍntiff to be paid the same as male employees

performing equal work, in violation of New York Labor Law g 194.

        107, The acts, practices a¡rd policies of defendants DBMA                    and PACNY, as set forth

above, constitute discrimination against plaintiff, in violation of the New York State Equal Pay

Aot, N,Y. Labor Law $ 194, et seq,

        108,         Upon infonnation and belief, defendants were aware of complaints and requests

for investigation made by its female anesthesiologists conceming defendant's unfair pay

practices, but did not rectify or investigate its unlawful pay practices.

        109.         Defendants violations of the Ncw York Labor Law $$ 190, et seq., werc therefore

v/illful withi¡ the meaning of N,Y, Labor Law $ 198, entitling plaintiff to liquidated             damages.


                                       THIRD CAUSE OF'ACTION:


                       DTSCRIMINATTON rN VIOLôTrON OF TI{E I{YSHRL


        110,         Plaintiffrepeats and realleges eaph and every allegation contained in this

Complaint with the same force and effect         as   if fully   set forth herein,

        I   11   ,   Plaintiff wæ at all times relevant to tlrjs complaint, employed by deferrdants

withi¡ the meaníng of the NYSHRL, New York Executive Law $$ 290, el xeq,

        112. Defendants, through its agents and employeos,                  discriminated against Dr, Spina in

the terms and conditions of her employment by, inter alla,paying her Iess than similarly situated

males, disciplining her more harshly than similarly situated males, assigning work dutiep

unequally between Dt, Spina and sirnilarly situated males, treating Dr, Spina's complaints less



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 seriously tha¡l tÌ¡e complaints of sirni.larly sin¡ated males, and by allowing its male employees,

 including Drs. Velasco and Trister, to use offlensive gender.based language whcn referring to

 female employees including Dr. Spina.

            II   I,   The acts, practices and policies of defendants ÞBMA and PAGNY, æ set forth

above, constitute discrimination against plaintiff, in violation of the NYSHRL, New          york

Executive Law $$ 290, eî seq,

        t    14,      The practices and policies of defendants DBIvfA and PAGNY saused plaintiffto

suffer emotional distress and to incu¡ economic damages,


                                      FOURTH CAUÇF, OF ACTTON:




        I   15,       Plaintiffrepeats and realleges each and every allegation containcd in this

Complaint with the same force a¡d effeot as if fully set forth herein.

        I16,          Plaintiffwas at all times rElevant to this complaint, employed by defendants

within the meaning of the NYCHRL, N.Y,C. Admin Codc gg 8-l0t et seq.

        I   17,       Defendants, tluough its agents and employees, discri¡ni¡ated againpt Dr, Spina in

thç terms and conditions of hcr employment by, inter alìa, paying her less than simila¡ly situated

males, dÍsciplining her more harshly than similarly situated males, assigning work duties

unequally between Dr. Spina and similarly siruated males, teating Dr, Spina's claims less

seriously than the complaints of similarly situated males, and by allowing its male employees,

including Drs, Velasco and Trister, to use offensive gender-based language when referring to

female ernployoes including Dr. Spina,




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        I   18'   The acts, practices and policies of defendants DBIvIA and PAGNY, as set forth

above, oonstitute discrirnination against    plaintifl in violation of the New York City    Hr¡man

Rights Law, N,Y,C. Admin Code gg 8-101, et seq.

        I   19.   The acts, practices and policies of defendants DBMA and PAGNY oaused

plaintiffto suffer emotional dist¡ess and economic damages,

        120,      The acts, practices and policies of defenda¡ts DBlvfA and PACIùí were

undertaken with malice and/o¡ reckless indifference to plaintiffs rights under City law, entitling

her to an award of punitive damages,


                                    F'IFTH CAUSP OF ACTION:


                  RETALIATI ON IN VI OLATIqNOF' TTIE .POUAI- PAY AC.T

        l2l,      Plaintiff repeats and re alleges each and every allegation contai¡ed in this

Complaint with the same force and effect æ if fully set forth herein.

        122.      Defendants unlaw.fully retaliated against plaintiff by issuing hor unwa¡ranted and

unduly harsh discipline after she complained of discriminatorily unequal pay to her union

representative and to DBMA ExEcutive Director Peter Gordon,

        123. The acts, practices and policies      of defendants DBMA and PAGNY, æ set forth

above, constitute retalíation against   plaintiff for engaging in protected activity, in violation of   tlre

FLSA and the EqualPay Act,




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                                    SIXTH CAUSE OF ACTIONI


           RETALIATION IN VIOLATION OF TIIE NEW VORK LABOR LA\ry

         124,   Plaintiff repeats and realleges each and every allegation contained in this

 Complaint with the same force and effect as if fully set forth herein.

        125. Defendants urrlawfully retaliated against plaintiffby íszuing       her unw¿rranted and

unduly barsh discipli¡e afrer she complained of disoriminatorily unequal pay to her union

representative and to   DBMA Executive Director Peter Gordon

        126.    The practices and policies of defendants DBMA and PAGNY, as set         foÍÌr   above,

constitute retaliation against plaintÍfffor engaging in protected actívity, in violation of the New

York Labor Law, N,Y. Labor Law 9215,

        127.    The practices and policies of defendants DBMA and PAGNY, as set forth above,

we¡e undertaken   wilfully   and without good faith effort to comply with the law, entitling   plai¡tiff

to liquidated damages under N, Y. Labor Law g 2 I 5,


                                 SEVENTH CAUSE OI .{ÇTION:


                     RETALIATION IN YTOLATION OF'TIIE I{YSHRL

        128,    Plaintiffrepeats and realleges each and every allegation contained in this

Complaht with thc same force and effect      as   if fully   set forth herein.

        129,    Defendants unlawfully retaliatéd against plaintiff by issuing her unwananted and

unduly harsh discipli¡e after she complained of discriminatorily unequal pay and unequal

t¡eatrnent of fernale employees to her union representative and to DBMA Executive Director

Pete¡ Gordon.




                                                     18
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         130. The practices and policies of defendants DBN{A and PAGNY, as set forth above,
 constitute retaliation against plaintiff for engaging in protected activity, in violation of the

NYSIIRL, Executive Law gg 290 et seq,

         l3l,   The practices and policies of defendants DBlvfA and PAGNY caused plaintiffto

suffer cmotional disuess a¡d to    incu economic damages.




                     RETAIIATION IN VIOLATION OF TTü NYCHRL

        132. Plaintiffrepeats     and realleges each and every allegation contained in this

Complaint with the same force and effect as if fully set forth herein,

        133,    Defendants unlawfully relaliated against    plaintiffby issui¡rg her unwarranted    and

unduly harsh disoipline after she complained of discriminatorily unequal pay and unequal

t¡eafitent of female employees to her union representative and to DBN4A Executive Director

Peter Gordon.

        134, 'ftre practices and policies of defendants DBMA        and PAGNY, as set forth above,

constitute retaliation against plaintifffor engagilg in protected activity, in violation of the

NYCI{RL, N,Y,C, Admin, Code gg 8-l0l et seq,

        135. The acts, practices and policies of defendants DBMA         and PAGNY caused

plaintiffto suffer emotional disbess and economic damages,

        136,    The acts, practices and policíes of defendants DBMA and PAGNY were

undertaken with malice and/or reckless indifference to plaintifPs rights under City law, entitling

her to a¡ award of punitive damages,




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                                   DE]VIAIITD   X'ORRELIET

   ÏVHEREFORE, plaintiff respectfully requests this Cou¡t grant the following relief:


   (a)    Find that defendants discriminated and retaliated against plaintiff in violation of

          the FLSA as a¡rended to include the Equal Pay Act, 29        u,s,c,   gg 201 et seq,;the

          New York State Equal Pay Act and New York Labor Law, N,y, Labor Law                     gg


          190 et seg,; the New York State Human Rights Law, N,Y, Executive Law gg 290

          et seq,: and the New Yo¡k City Human Rights Law, N.Y.C. Admin Code $$ B-

          l0l   et seq.


  O)     Enjoin defenda¡t from violating the Equal Pay Act and the New York State Equal

         Pay    Act by paying women at rates lower than men for substantially similar work,

  (c)    Enjoin defendants from violating the NYSHRL a¡d NYCHRL by discriminating

         agaìnst women in the terms and conditions of their work;

  (d)    Award     plailtiff   back pay togcther with all other benefits to which   plaintiffis

         entitled, with prejudgment interest;

  (e)    Award plaintiff compensatory damages, including damages for mental anguish,

         pain and sufferirrg and humiliation;

  (Ð     Awa¡dplaintiffpunitivedamages;

  (g)    Award plaintíff the cost of this action together with reasonable attomeys fees and

         costs;

  (h)    Awa¡d plaintiffliquidated damages in the amount of one quarter of plaintiffs

         back pay for the six years prior to the filing of this complaint, due to defendants'

         willful and intentíonal conduct di¡ected at plaintiff in vislation of the New York



                                                z0
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             State Equal Pay Act, N,Y, Labor Law g 194,, prlsuant to New York Labor Law

             A¡tiole6Tl98     1-a;

      (¡)    Award plaintiffliquidated damages in the amount of one hund¡ed percent of

             plaintiffs back pay for the three years prior to the flrling of this complaint,   due to

             defendant's willfr¡l and reckless conduct directed at plaintiff in violation of the

             Equal Pay Act.29 U.S,C, $$ 206(d) et seq,, pursuant to 29 U.S,C. $ 216(b);

      Û)     Issue a declaratory judgment that the praotice complained of he¡cin are ur¡lawfi.¡l

             under the EqualPay Acl,29 U,S,C, $$ 206(d) et seq,, and the New York Equal

             Pay   Ac[ N.Y, Labor Law $ 194; aod

      ß)     Award plaintiff such other relief   as this Court deems necessary and proper,




                                     DEMANÞ FOR.TRIAL BY JURY


      Pwsuant to FRCP 38(b), plaintiffdemands a trial by jury,



Dated;New York, New York
      February 19,2014
                                                                           submítted,

                                             By:
                                                            Ch¡istine Clarke
                                                            John A. Beranbaum
                                                            BERA}IBAUM MENKEN LLP
                                                            80 Pine Street,33'd Floor
                                                            New York, New York 10005
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           Civil Action No. 13 CIV l0l l(TPG)
           TINITED STATES DISTRICT COURT
           SOUTHERN DISTRICT OF NEW YORK

           LAURIE SPINA, M.D.,

                                                        Plaintiff,

                                     -against-

           DOWNTOWN BRONX MEDICAL
           ASSOCIATES, P.C., and PHYSICIAN
           AFFILIATE GROUP OF NEW YORK, P.C.,

                                                     Defendants.

           DEFENDANTS'MEMORANDUM OF LAW IN
           SUPPORT OF THEIR MOTION TO DISMISS

                        ZACHARY IY, CARTER
               Corporation Counsel of the City of New York
                         Att orney for Defendants
                             100 Church Street
                          New York, N.Y. 10007

                        Of Counsel: L't/illiam S.J. Fraenkel
                        Tel: (212) 356-2434
                        Law Dept. No,: 2014-007400-LE

           Due and timely service is hereby admitted,

           New York, //. X ,,..,...,,.                         201

                                                               Esq

           Attorney   for
